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    AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARMS! WARRANT

        Your affiant, Rachelann Cardwell, does swear and affirm the following to be true and

accurate to the best of my knowledge and belief:

                      INTRODUCTION AND AGENT BACKGROUND

        1.     I am a Federal Task Force Officer with the Federal Bureau of Investigation and

have been since May 2015. I joined the Suffolk Police Department in March of 2009 and was

promoted to Detective in 2011.1 am currently a Detective with the Suffolk Police Department and

assigned to the Norfolk Federal Bureau of Investigation (FBI) on the Joint Terrorism Task Force

(JTTF) since May of 2015 as a Federal Task Force Officer. I have conducted numerous felony

investigations, which have led to arrests and prosecutions during my career. While on the JTTF I

have worked International and Domestic Terrorism cases which have led to Federal arrests and


prosecutions. I have had numerous trainings provided by my department focusing on violent

crimes, social media exploitation, cell phone analysis. While at the FBI I have had numerous

trainings in reference domestic and international terrorism, to include ideologies, extremist

behaviors, and recruitment techniques over the course of my law enforcement career. I have been

the principal investigator in state and federal investigations involving violent incident crimes, bank

robbery, violations of the Hobbs Act, gun violations, and Material Support to Terrorism. Through

experience and training, I have become familiar with the methods and schemes employed by

criminals to use encrypted applications and VPNs to mask their criminal activity.

       2.        I am familiar with, and have utilized, a wide variety of investigative techniques,

including but not limited to the development of cooperating sources, physical surveillance.

telephone toll record analysis, pen registers, requesting and serving grand jury subpoenas, search

warrants applications, arrest warrants, and electronic surveillance. As a result of my training and
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experience as a Federal Task Force Officer for the FBI, I am familiar with Federal and State laws

and statutes.   The facts in this Affidavit come from my personal observations, my training and


experience, my review of documents, and information obtained from other agents and witnesses.

       3.       This affidavit is submitted in support of an application for a criminal complaint

charging BRAD KENNETH SPAFFORD with a violation of Title 26 U.S.C § 5861(d) (unlawful

possession of firearms, namely, the possession of an unregistered short-barrel rifle).

       4.       The facts and information contained in this affidavit are based upon my training


and experience, participation in firearms and narcotics investigations, personal knowledge, and

observations during this investigation, as well as the observations of other law enforcement

officers involved in this investigation. All observations not personally made by me were relayed

to me by the individuals who made them or were conveyed to me by my review of records.

documents, and other physical evidence obtained during this investigation.

       5.       This affidavit is being submitted for the limited purpose of obtaining a criminal

complaint and arrest warrant. I have set forth only those facts that 1 believe to be necessary to

establish probable cause for the charges described below and have not included each and every

fact and matter observed by me or known to the Government.

                         FACTS SUPPORTING PROBABLE CAUSE

       6.       On or about Januaiy 17,2023, a confidential human source (CHS) provided

information that SPAFFORD disfigured his hand on or about July 4,2021 while working with a

homemade explosive device, and was stockpiling weapons and homemade anununition. The

CHS observed SPAFFORD’s hand both before and after the event, and saw that several fingers


were missing after the event The CHS reported that SPAFFORD and his friends are preparing




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for something that SPAFFORD would not be able to do alone. SPAFFORD told the CHS that he

makes approximately 50 rounds of ammunition per day.

         7.     On or about May 20, 2023, tlie CHS and SPAFFORD went to a gun range in the

City of Suffolk and went shooting. Both the CHS and SPAFFORD brought their own weapons.

The CHS brought a registered short barrel rifle and SPAFFORD also brought a rifle in addition

to other weapons. The CHS advised that based on their prior experience the rifle SPAFFORD

brought to the range appeared to be under 16 inches. The CHS was unable to lay their registered

short barrel rifle beside SPAFFORD’s for confirmation but believes this was in fact a short barrel

rifle.

         8.     The CHS provided additional information that SPAFFORD created a “go box” for

the back of his vehicle. From my training and experience, I know a “go box” to be a box or bag

tliat has been modified with medical supplies, weapons, ammunition, food and water in the event

one needs to act fast to a situation because it is staged for quick access and movement.


SPAFFORD sent pictures of the “go box” in the back of a SUV to the CHS on or about

September 14, 2023. This vehicle appears to be a car known to be owned by SPAFFORD. The

pictures showed several rifles, of which one appeared to be a short barrel rifle, ammunition.

medical kits, Tyvek suits, food, water, and other weapons inside the “go box”.

         9.     On or about November 27,2023, SPAFFORD informed the CHS that he has a 10'

barrel rifle. Federal law defines a short-barreled rifle as a rifle with a barrel shorter than sixteen


inches in length. 26 U.S.C. § 5845(a),

         10.    On or about December 21, 2023, the Bureau of Alcohol, Tobacco, Firearms and

Explosives (ATF) responded to a request from the Norfolk FBI in reference to SPAFFORD




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having a tax stamp. The ATF responded that SPAFFORD does not have any tax stamps or

registered short barrel rifles on file.

        11.     On October 19, 2024, the CHS met with SPAFFORD at SPAFFORD’s residence

in Smithfield, Virginia. During the meeting SPAFFORD informed the CHS that he has a short

barrel rifle which is not registered because he does not believe in registration. SPAFFORD

informed the CHS that he moved many hundred-pound boxes of ammunition to the SUBJECT

PREMISES, but he does not have 10,000 rounds yet.

        12.     On or about December 6, 2024 the Bureau of Alcohol, Tobacco, Firearms and

Explosives (ATF) responded to a request from the Norfolk FBI in reference to SPAFFORD

having a tax stamp. The ATF responded that SPAFFORD does not have any tax stamps or

registered short barrel irfles on file and does not have a license to have explosive materials.

        13.     On or about November 20, 2024, the photograph of the short barrel rifle from the

“go box” was sent to Agent Megan Shumaker who is a FBI Special Agent and is a Federal Task

Force Officer at the ATF and she advised based on her training and experience, this appears to be


an SBR based off the photograph. The barrel is not likely to be 16 inches.

                                          CONCLUSION


        19.     Based on the information and evidence set forth above, I respectfully submit that

there is probable cause to establish that on or about October 19,2024, in Smithfield, in Isle of

Wight County, in the Eastern District of Virginia, BRAD KENNETH SPAFFORD, violated 26

U.S.C § 5861(d) by knowingly possessing a firearm, that is: a short barrel irfle as defined in 26

U.S.C. § 5845(a), which was not registered to the defendant in the National Firearms

Registration and Transfer Record, as required by 26 U.S.C. § 5841.




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       20.    Accordingly, i i-cciucst lhal ihc complaint and an ari-csl warrant be issued, charging

BRAD KENNETH SPAFEORD with this olTensc.




Further your afliani saycth naught.

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                                              Rachclann Cardwell, 'I'ask Force Officer
                                              Federal Bureau of investigation (FBI)



Sworn and subscribed to before me this               *day of I!)cccmbcr 2024.



                                              UNmiD STATES MAGISTRATE JUDGE




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